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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


                                   )
MARIA ALEJANDRA CELIMEN SAVINO,    )
JULIO CESAR MEDEIROS NEVES,        )
and all those similarly situated,  )
                                   )
          Plaintiffs-Petitioners, )
                                   )              CIVIL ACTION
          v.                       )              NO. 20-10617-WGY
                                   )
STEVEN J. SOUZA, Superintendent of )
Bristol County House of Correction )
in his official capacity,          )
                                   )
          Defendant-Respondent.    )
                                   )



YOUNG, D.J.                                       December 18, 2020

                                 ORDER

     The motion for reconsideration of bail denials and renewed

motion for release on bail is DENIED. But for the subject matter

of this class action, each of the petitioners is lawfully

detained. Bail in habeas cases is, and ought be, rare. Habeas

actions are generally not the proper avenue to address

conditions of confinement.

     That said, the Court understands that its denials of bail

have been argued to be res judicata in other proceedings. This

is improper. This Court’s determinations are limited to the

unique set of circumstances presented herein and are not germane

to other proceedings – and then only in the most general sense.
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     Finally, the Court observes that the fairly dramatic

reduction in the number of detainees presently being held at the

Bristol County House of Correction calls into question the

continued propriety of treating this matter as a class action

since the numerousity requirement may no longer be met.



                                            By the Court,

                                            /s/ William G. Young___
                                            WILLIAM G. YOUNG
                                            DISTRICT JUDGE




                                  [2]
